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            IN THE UNITED STATES DISTRICT COURT
           FOR THE NORTHERN DISTRICT OF GEORGIA
                      ATLANTA DIVISION

                                   |
JANE DOE, by and through her       |
next friend and father, James Doe, |
JOHN DOE, by and through his       |
next friend and father, James Doe, |
                                   |
       Plaintiffs,                 |
                                   |
v.                                 |        Case No.: 1:19-cv-00813-MLB
                                   |
GWINNETT COUNTY, GEORGIA, |
GWINNETT COUNTY SCHOOL |
DISTRICT,                          |
DETECTIVE JONATHAN LEACH, |
in his individual capacity,        |
                                   |
       Defendants.                 |
                                   |

               AMENDED COMPLAINT FOR DAMAGES

      Plaintiffs bring this action against Defendants under 42 U.S.C. § 1983,

the Americans With Disabilities Act (“ADA”), 42 U.S.C. §12101 et seq., §

504 of the Rehabilitation Act of 1973, 29 U.S.C. §794 (“Section 504”), and

the Fourth Amendment of the United States Constitution. In support,

Plaintiffs offer the following.



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                                PARTIES

1.   Plaintiff Jane Doe is a 20-year-old female, a United States Citizen,

     and a resident of Georgia. Jane has Autism Spectrum Disorder and

     speech and language impairment.

2.   Pursuant to O.C.G.A. § 29-4-21(a), Jane does not have the power to

     bring this action due to the appointment of her father, James Doe, as

     her legal guardian. Mr. Doe brings this action on Jane’s behalf as her

     next friend, pursuant to Fed R. Civ. P. 17(c)(2).

3.   Plaintiff John Doe, Jane’s twin brother, is a 20-year-old male, a

     United States Citizen, and a resident of Georgia. John has Autism

     Spectrum Disorder and Emotional Behavioral Disorder.

4.   Pursuant to O.C.G.A. § 29-4-21(a), John does not have the power to

     bring this action due to the appointment of his father, James Doe, as

     his legal guardian. Mr. Doe brings this action on John’s behalf as his

     next friend, pursuant to Fed R. Civ. P. 17(c)(2).

5.   Defendant Gwinnett County Police Detective Jonathan Leach

     (“Detective Leach”) is sued in his individual capacity. At all times




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      relevant to the complaint, Detective Leach acted under the color of

      law.

6.    Defendant Gwinnett County is a Georgia political subdivision subject

      to suit.

7.    Defendant Gwinnett County School District is a Georgia political

      subdivision subject to suit.

                       JURISDICTION AND VENUE

8.    This action arises under the authority vested in this Court by virtue of

      28 U.S.C. § 1331 and 28 U.S.C. § 1343 (a)(3).

9.    Upon service of process, this Court acquires personal jurisdiction of

      Defendants under Fed. R. Civ. P. 4(k)(1)(a).

10.   Venue is proper in the Atlanta Division of the Northern District of

      Georgia under 28 U.S.C. § 1391(b) because all actions complained of

      occurred within the boundaries of this district and Defendants reside

      within this district.

             FACTS GIVING RISE TO PLAINTIFFS’ CLAIMS

11.   Jane and John have Autism Spectrum Disorder. Autism is a

      neurological condition that affects how a person communicates with


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      and relates to other people and how they experience the world around

      them.

12.   As individuals with autism, Jane and John experience heightened

      anxiety, which can significantly affect their ability to understand what

      is said to them and to make themselves understood.

13.   As individuals with autism, John and Jane have difficulties

      understanding some types of spoken language, and have problems

      understanding non-literal language, understanding sentence structure,

      keeping a sentence in mind long enough to analyze its meaning,

      inferring what is meant from an unclear statement, understanding the

      level of detail an interviewer is seeking, becoming overloaded with

      spoken information, and understanding tones of voice.

14.   As individuals with autism, John and Jane have difficulties

      communicating because of issues with providing a clearly sequenced

      narrative of events, finding the right words to explain something, and

      using complex words or phrases they have heard previously but do not

      fully understand.




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15.   Overall, the needs and difficulties associated with communication,

      memory and sensory issues with autism will be greatly increased for

      an individual when they are with unfamiliar people, in unfamiliar

      places and experiencing stressful events.

16.   In 2017, Jane was a senior at Archer High School. Due to her

      disability, she received special education services.

17.   In 2017, John was a senior at Archer High School. Due to his

      disability, he received instruction in a small classroom environment.

18.   In January 2017, two students (K.E. and T.B.) at the High School

      began to bully John by threatening to publish a video of John having

      sex with his sister to other students at the school.

19.   No such video actually existed, nor did John ever claim that such a

      video existed.

20.   John was nevertheless fearful that those students would do something

      to cause him public humiliation.

21.   Because John is autistic, he was particularly vulnerable to the other

      students’ blackmail attempt.




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22.   That K.E., attempted to blackmail John. In exchange for not releasing

      the video, the student told John that he had to give the student money.

23.   On January 12, 2017, a teacher at Archer High School reported to a

      school counselor that she overheard students in her class discussing an

      alleged video of John having sex with his sister.

24.   In response to this report, Ms. Coleman interviewed John in her office

      on January 13, 2017.

25.   John informed Ms. Coleman that that there was no video and that a

      student named K.E. started and spread the rumor in an attempt to

      extort money from him. John provided Ms. Coleman with a signed

      written statement to this effect.

26.   John showed and emailed Ms. Coleman a copy of a conversation

      between himself and K. E. in a series of text messages dated January

      11, 2017 to that morning of January 13, 2017. The conversation

      begins with John asking K.E. “Why ya do it telling people lies,” to

      which K.E. responded, “LOL IDK.” K.E. then repeatedly demanded

      money and told John that it “only gets worse till you pay up” and the




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      two arranged for John to give K.E. a pair of sneakers until he was able

      to obtain money.

27.   There is no mention of a video in any of these text messages.

28.   Ms. Coleman then interviewed K.E. who provided a signed written

      statement that John approached him accusing him of starting a rumor

      and offering him money to stop the rumor. The statement did not

      mention a video. K.E. admitted to demanding money and was in

      possession of the sneakers discussed in the text messages.

29.   When asked by Ms. Coleman if he had seen a video, K.E. claimed that

      John showed him and another student, T.B., a video during the

      previous school year and told them that the girl in the video was his

      sister.

30.   Ms. Coleman next interviewed T.B. who claimed that John sent him a

      video of two people having sex. T.B. said he did not see the girl’s face

      but falsely claimed that John told him the girl was his sister. T.B.

      claimed he deleted the video shortly after receiving it.

31.   Ms. Coleman then questioned Jane alone in her office. Jane said

      multiple times that she did not make a video with John. Ms. Coleman


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      asked Jane if John ever made her do anything she did not want to do

      or that she thought was wrong or made her uncomfortable. Jane

      answered no to each of these questions. Ms. Coleman noted that Jane

      “seemed concerned’ throughout the conversation and repeatedly asked

      if she was in trouble.

32.   School Resource Officer P. Reed inspected John’s phone during this

      investigation and did not find any video.

33.   The school concluded the investigation, finding John innocent of any

      wrongdoing and disciplining K.E. for extorting John. Ms. Coleman

      informed Mr. Doe that the school administration did not believe the

      video was real.

34.   On January 26, 2017, approximately two weeks after the investigation

      concluded, Ms. Coleman learned from another teacher that John had a

      younger sister at home.

35.   Ms. Coleman then decided to refer the matter to the Department of

      Family and Children Services, who then referred to Detective Leach

      for investigation.




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36.   On February 16, 2017, approximately three weeks after the case was

      referred, Detective Leach began his investigation by conducting

      interviews at Archer High School.

37.   Ms. Coleman provided Detective Leach with extensive notes

      documenting the school’s investigation and informed Detective Leach

      that the school concluded that John was being taken advantage of by

      his classmates and that the video likely did not exist. SRO Reed

      confirmed that no video was found on John’s cell phone.

38.   Detective Leach then interviewed K.E., who claimed that John

      showed him a video during the 2015-2016 school year in which an

      unidentifiable male received oral sex from an unidentifiable female.

      K.E. then claimed, for the first time, that John sent him the video as

      well and that he deleted it shortly after viewing.

39.   Detective Leach noted that K.E. could not explain why he chose to

      wait until the following school year to extort money from John.

40.   T.B. informed Detective Leach that John sent him a video of an

      unidentifiable male having “actual sex” with an unidentifiable female,




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      which he deleted shortly after viewing. T.B. also to lied to Detective

      Leach regarding whether K.E. had extorted John.

41.   K.E. and T.B.’s descriptions of the videos were entirely inconsistent.

      K.E. claimed the video depicted oral sex while T.B. said it depicted

      sexual intercourse. Neither student claimed that they could identify

      the man in the videos as John, or the woman in the videos as Jane.

                           Jane’s Interview

42.   Based upon direction from Detective Leach and with the knowledge

      of Ms. Coleman, Jane was subsequently removed from class by a

      school official and escorted to a room in the school where she was

      met by Detective Leach.

43.   Both Detective Leach and Ms. Coleman were aware that Jane was

      disabled before he began interviewing her. He noted that she

      “appeared to be severely autistic” in his incident report.

44.   Detective Leach did not seek consent from Jane’s father before

      conducting the interview or otherwise inform her father that the

      interview was occurring.




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45.   Detective Leach did not speak to Jane’s father or special education

      teachers in order to gain a better understanding of Jane’s disability

      and how it would affect her ability to communicate with Leach during

      the interview.

46.   There was no pressing reason or exigency for Detective Leach to

      proceed with the interview without first taking these steps. He had

      already waited approximately three weeks after he was assigned the

      case to begin conducting the interviews, DFCS had already

      investigated, and there was no exigency.

47.   Ms. Coleman was present during the interview. Ms. Coleman is not

      one of Jane’s special education teachers and did not have an existing

      relationship with Jane.

48.   Ms. Coleman and school administrators were aware of Jane’s

      disability.

49.   Ms. Coleman was aware that Mr. Doe had been declared Jane’s legal

      guardian. Despite this, no one from the school contacted Mr. Doe to

      seek consent before interviewing Jane.




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50.   Detective Leach and Ms. Coleman did not offer Jane the opportunity

      to have a family member or teacher present during the interview to

      help Jane feel more comfortable and to assist Detective Leach in

      interviewing Jane in a way that would ensure effective

      communication.

51.   Ms. Coleman knew that Jane would be frightened and anxious during

      the interview. Ms. Coleman previously observed that Jane was

      anxious and afraid that she was in trouble during their initial meeting

      regarding the allegations against John in January 2017, and Jane’s

      reaction to to the interview made it apparent to any observer that she

      was both frightened and anxious.

52.   The interview was conducted in a setting that was uncomfortable and

      unfamiliar to Jane.

53.   Jane was never told the purpose of the interview. Detective Leach

      only informed her that he wanted to “protect kids” and “make sure

      kids are safe.”

54.   Jane was never told that she could decline to be interviewed.




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55.   Detective Leach told Jane would not be in trouble as long as she “told

      the truth” during the interview.

56.   The interview lasted for nearly fifty minutes.

57.   Jane demonstrated significant fear and anxiety throughout the

      interview. Within the first few minutes, she asked if she was going to

      jail and requested that Ms. Coleman, a virtual stranger, hold her hand.

      During the interview, she cried and stated numerous times that she

      was scared. She asked if she was in trouble more than ten times over

      the course of the interview. Well into the interview, she expressed

      concern that the police were going to “get her” and that she was going

      to hear “bad reports.”

58.   At the conclusion of the interview, Jane once again expressed fear that

      she might be in trouble and asked if she would have to go to jail or get

      bad reports.

59.   Detective Leach and Coleman never suggested that they take a break

      from the interview, despite Jane’s obvious fear and anxiety.

60.   Jane was never told that she was free to take a break during the

      interview.


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61.   Jane repeatedly asked if the interview was done, beginning a mere six

      minutes into the interview. Detective Leach answered “almost” each

      time.

62.   Jane was never told that she was free to terminate the interview or to

      leave the room, or that the interview was voluntary.

63.   A year prior to the interview, a speech and language evaluation

      conducted old indicated that Jane had a significant receptive language

      impairment and functions at the early seven-year-old level.

64.   Detective Leach frequently asked Jane questions using language that

      was far too complex for someone of Jane’s developmental abilities to

      comprehend.

65.   Detective Leach and Ms. Coleman knew that Jane was unable to

      adequately comprehend many of Detective Leach’s questions.

66.   Ms. Coleman did nothing during the interview to assist

      communication between Detective Leach and Jane. She said nothing

      other than a few vague assurances that Jane was not in trouble.

67.   Detective Leach began the interview with questions about cooking

      pizza and grilled cheese, then asked general questions about Jane’s


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      family, then abruptly began asking Jane to identify body parts on an

      anatomical diagram and state whether anyone has ever touched them.

      Detective Leach did not offer any explanation as to why he was

      asking these questions or attempt to transition into the topic in a

      manner that would help to avoid confusion or anxiety.

68.   In response to Detective Leach’s questions, Jane described incidents

      of John laying on her and repeatedly stated that she and John were

      hugging. Jane stated that she and John “attached” to each other. When

      Detective Leach asked her what she meant by this, she again stated

      that John hugged her. Jane used the terms “attach” and “hug”

      interchangeably multiple times.

69.   Jane consistently answered yes every time Detective Leach asked her

      if she and John wore clothing during these encounters.

70.   Jane stated that she had not seen John’s penis since she was little.

71.   Jane was unable to identify when the incidents occurred, stating

      repeatedly that she could not remember and that it was a “while ago.”

72.   Jane informed Detective Leach that John was never using a cell phone

      during the times that they “attached.”


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73.   Detective Leach misinterpreted Jane’s usage of the word “attached” to

      mean sexual intercourse.

74.   Jane’s use of the word “attached” is strictly literal. For example, a pen

      that is set upon a table is “attached” to the table. This use of literal

      language is typical of autistic individuals and one of the reasons that

      someone familiar with Jane’s speech and mannerisms (such as a

      family member or teacher) should have been present for the interview.

75.   Approximately eight minutes into the interview, Jane asked Detective

      Leach if her father was aware that she was being interviewed. Later,

      she asked Detective Leach to call her father while she was still present

      and he refused.

76.   Even after the interview was completed, neither Detective Leach nor

      anyone from the school phoned Jane’s father to inform him of the

      investigation or Jane’s interview. Jane phoned Mr. Doe herself; upset

      and asking why he had allowed the interview to occur.

                      Consequences of Jane’s Interview

77.   Jane suffered and continues to suffer severe emotional distress as a

      result of this interview, including fear of police, anxiety, depression,


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      nightmares and night terrors, embarrassment, nervousness, and

      humiliation.

78.   Shortly after the interview, Jane and her father saw a psychiatrist

      because Jane had been too distressed to return to school. The

      psychiatrist noted that Jane was visibly upset and continuing to ask if

      she was in trouble. She diagnosed Jane with generalized anxiety

      disorder and prescribed sedatives.

79.   As a result of the interview, Jane was afraid to go to school and often

      had to be sedated to get through the school day. Accordingly, she

      frequently fell asleep in class and missed much of her senior year.

                                John’s Arrest

80.   Upon hearing from Jane about the interview, Mr. Doe came to the

      school to take her and John home. He asked to speak to Ms. Coleman

      or the school principal and was told that they were unavailable. He

      mentioned that he was planning to pick up his youngest daughter

      A.M. from middle school.

81.   A School Resource Officer informed Mr. Doe that he would not be

      allowed to pick up A.M. from the middle school and directed Mr. Doe


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      to wait for detectives to return to Archer. Upon arrival, Detective

      Leach told Mr. Doe of the allegations against John. Mr. Doe agreed to

      take John to Gwinnett Police Headquarters to speak with Detective

      Leach.

82.   When Mr. Doe and John arrived at Gwinnett Police Headquarters,

      Detective Leach placed them alone in an interview room equipped

      with a digital recording device.

83.   According to the incident report, the recorded conversation between

      Mr. Doe and John contained the following:

      a.    John told Mr. Doe he never touched or did anything to Jane.

      b.    John told Mr. Doe he heard that K.E. made a fake video

            pretending it was him and that K.E. was attempting to set him

            up.

      c.    John told Mr. Doe “I didn’t do it. They probably grabbed a

            video and edited it and made it look like me.”

84.   When Detective Leach entered the room and began questioning John,

      he maintained his innocence and invoked his right to an attorney.




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85.     Detective Leach concluded the interview. Instead of allowing John to

        obtain an attorney in order to continue the interview, he immediately

        placed John under arrest for Felony Incest in violation of O.C.G.A. §

        16-6-22 and Felony Rape in violation of O.C.G.A. § 16-6-1.

86.     Detective Leach then handcuffed John and transported him to

        Gwinnett County Jail for booking.

87.     Immediately thereafter, Detective Leach obtained warrants for John’s

        arrest.

88.     By obtaining arrest warrants for John, Detective Leach initiated a

        prosecution against John for the crimes of incest and rape.

      There Was No Probable Cause to Believe John Committed Any Crime

89.     Detective Leach was aware of significant inconsistencies in K.E. and

        T.B.’s testimonies. He incorrectly interpreted John’s compliance with

        extortion demands in his text message exchange with K.E. as an

        admission that a video existed, choosing to disregard John’s message

        accusing K.E. of lying, and choosing to disregard John’s disability

        and vulnerability to being manipulated and lied to. Detective Leach




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      further ignored evidence that John was only complying with the

      demands for money in an effort to stop the spread of false rumors.

90.   Detective Leach ignored that Jane was obviously not describing

      sexual intercourse with John during her problematic interview. He

      ignored the fact that Jane repeatedly insisted that she and John were

      always clothed, repeatedly described their behavior as hugging, and

      stated that she had not seen John’s penis since they were small

      children.

91.   In addition to the statements made by Jane which denied that any

      sexual intercourse occurred, Detective Leach ignored that Jane had

      obvious and significant difficulty communicating, did not understand

      the purpose of the interview, and that her inability to communicate

      effectively precluded reliance on the information he received from

      Jane.

92.   Detective Leach acknowledged in his report that he did not give John

      an opportunity to provide testimony relevant to the probable cause

      determination because John invoked his right to an attorney.




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93.   On February 22, 2018, Gwinnett Sexual Assault Center conducted a

      forensic interview of A.M., John’s other sister living in the home.

      Detective Leach observed the interview. A.M. did not report any

      abuse whatsoever.

94.   In late March, Detective Leach obtained search warrants to conduct

      forensic examinations of John’s phone and T.B.’s phone. The

      examiner did not find any incriminating evidence. There was no video

      or any messages discussing a video.

95.   John has never had any sexual contact with his sister Jane. There was

      no video of any such event because it never happened. John never

      showed or sent anyone any sort of video in which he claimed to be

      having sex with Jane. No such video was ever discovered because it

      did not exist.

96.   John was released from jail on bond on April 14, 2017, approximately

      two months after his arrest.

97.   After his release, John was still not permitted to return home due to

      restrictions on his bond requiring him to stay away from Jane. During

      that time, John lived with friends of the Does in Dacula, Georgia.


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98.     All charges against John were administratively dismissed by the

        Gwinnett County District Attorney’s Office on June 2, 2017.

                         Consequences of John’s Arrest

99.     John suffered and continues to suffer severe emotional distress as a

        result of his arrest and incarceration, including anxiety, depression,

        embarrassment, nervousness, and humiliation.

100. Additionally, John suffered damage to his reputation as a result of

        being arrested pursuant to a school investigation, of which many of

        his peers were certainly aware.

                            CLAIMS FOR RELIEF

                                    Count I
                         Violation of 42 U.S.C. § 12132
                Title II of the Americans with Disabilities Act
      (By Jane Doe against Gwinnett County and Gwinnett County School
                                        District)

101. This Count incorporates the factual allegations set forth above.

102. Jane is disabled within the meaning of the ADA, 42 U.S.C. §

        12131(2), because she actually and currently has autism, a physical or

        mental impairment that substantially limits one or more major life

        activities.


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103. Jane is qualified to receive law enforcement services from Gwinnett

      County.

104. As a school-aged individual, Jane was qualified to receive public

      education services and participate in programs and activities provided

      by Gwinnett County School District.

105. Defendants Gwinnett County and Gwinnett County School District

      are public entities under the ADA, 42 U.S.C. § 12131(1).

106. The ADA prohibits discrimination against disabled individuals in

      providing governmental services such as law enforcement and public

      education. Defendants Leach and Coleman were agents, employees,

      or representatives of governmental entities that are required to comply

      with the ADA.

107. Detective Leach and Ms. Coleman knew that Jane was a disabled

      person and that accommodation should have been provided to ensure

      that communication with Jane was as effective as it would be with

      other potential crime victims.




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108. Defendants discriminated against Jane because she was disabled, and

      as a result, Jane was denied the benefits of equal services, programs

      and activities of Defendants.

109. Ms. Coleman was authorized to accommodate Jane’s disability on

      behalf of Gwinnett County School District. She could have refused to

      permit Jane to sit for the interview, notified her father, or arranged for

      another adult to attend the interview with Jane.

110. Detective Leach was authorized to accommodate Jane’s disability on

      behalf of Gwinnett County. He did not have to report to any other

      person regarding the time, place, location, or manner of the interview

      he was conducting. He could have refused to permit Jane to sit for the

      interview, notified her father, or arranged for another adult to attend

      the interview with Jane.

111. Detective Leach and Ms. Coleman’s actions were intentional and/or

      deliberately indifferent to Jane’s rights under Section 504 and Title II

      of the ADA and were the proximate cause of Jane’s resulting

      damages.




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112. Defendants should have made the following accommodations; all of

     which would have been reasonable under the ADA and other

     applicable law and would not have imposed an undue burden or

     required a fundamental change:

     a.    Spoken to Jane’s father and special education teachers prior to

           the interview to gain a better understanding of Jane’s disability

           and learn of any communication, cognitive, or conduct issues

           that would affect Jane during the interview.

     b.    Ensured that a familiar adult such as Jane’s father or special

           education teacher was present during the interview.

     c.    Ensured that a parent or care provider such as Jane’s special

           education teacher was present during the interview to assist

           Jane in understanding questions and assure that Jane’s

           expressed communications were properly understood.

     d.    Informed Jane at the beginning of the interview that she was

           free to take a break at any time.

     e.    Questioned Jane using language that someone of her abilities

           could comprehend.


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      f.    Scheduled breaks or afforded Jane opportunities to take breaks

            throughout the interview.

      g.    Changed the subject or called for a break when Jane

            demonstrated obvious signs of stress.

113. By failing to make reasonable accommodation for Jane’s obvious

      developmental disability in their provision of police services to the

      community, Defendants violated Title II of the ADA and are liable for

      all resulting damages.

                                Count II
                       Violation of 29 U.S.C. §794
              Section 504 of the Rehabilitation Act of 1973
    (By Jane Doe against Gwinnett County and Gwinnett County School
                                 District)

114. This Count incorporates the factual allegations set forth above.

115. As recipients of federal funds, Gwinnett County and Gwinnett County

      School District are required by Section 504 of the Rehabilitation Act

      of 1973 (29 U.S.C. §794) to make reasonable accommodations to

      persons with disabilities in their facilities, program activities and who

      receive their services. Such recipients are further required to modify

      such facilities, services, and programs as necessary to accomplish this


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      purpose. Accordingly, Defendants are subject to the mandate of

      Section 504.

116. For the same reasons that Jane was deemed to have a disability for

      purposes of the ADA, Jane was also a qualified individual with a

      disability under Section 504.

117. The same conduct of Defendants that constituted an ADA violation

      also constituted a failure to reasonably accommodate Jane’s disability

      under Section 504.

118. Defendants’ above described failure to accommodate Jane’s disability

      was intentional and/or deliberately indifferent to her rights under

      Section 504, thereby constituting violations of the Rehabilitation Act

      by recipients of federal funds for which Defendants are liable.

                                Count III
     Unlawful Seizure in violation of 42 U.S.C. §1983 and the Fourth
                               Amendment
    (By Jane Doe against Gwinnett County and Gwinnett County School
                                 District)

119. This Count incorporates the factual allegations set forth above.

120. As detailed above, Jane was called out of class by school officials to

      meet with the police for an unstated purpose in an unfamiliar


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      administrative setting. She was not told that she was free to decline

      the interview or to leave, despite indicating her desire to do so

      multiple times.

121. Gwinnett County School District has a policy governing interviews of

      suspected abuse victims. This policy allows only law enforcement

      officers to conduct these interviews and to ask the student if they wish

      to have a school employee present in the interview. The policy

      requires law enforcement officers, not school personnel, to contact the

      student’s parents only after the interview has been completed,

      regardless of the suspected perpetrator.

122. Gwinnett County has a policy derived from the policy of the Gwinnett

      County School District under which it performs interviews of students

      of the Gwinnett County School District as outlined in the preceding

      paragraph.

123. Every reasonable person in Jane’s position would feel compelled to

      comply with school and police authority figures and would believe

      that they were not free to leave.




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124. Under the Fourth Amendment, the conduct of Defendant Leach in

      causing Jane to remain in a school office despite her clear desire to

      leave constituted a seizure.

125. This intrusive seizure, lasting almost fifty minutes, exceeded the

      scope of an investigatory stop and ripened into an arrest which must

      be supported by probable cause.

126. Based upon the information known to Detective Leach at the time, no

      reasonable officer could have believed probable cause existed to

      justify Jane’s detention.

127. In the alternative, Jane’s seizure was an investigatory stop that must

      be justified by reasonable suspicion.

128. Based upon the information known to Detective Leach at the time, no

      reasonable officer could have believed reasonable suspicion existed to

      justify Jane’s detention.

129. In conducting Jane’s seizure and interview, Detective Leach acted

      pursuant to the official policies of Gwinnett County and the Gwinnett

      County School District. The fact that there was no probable cause or

      reasonable suspicion was not relevant to Detective Leach because the


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      policy and practice of the School District and County did not require

      those findings prior to compelling a child to sit for an interview.

130. In participating in the seizure and interview of Jane, Ms. Coleman

      acted pursuant to the policy of the Gwinnett County School District.

131. Jane was seized pursuant to a policy of Defendants that allowed her to

      be interviewed despite the absence of a warrant, court order, probable

      cause, reasonable suspicion, parental consent or exigent

      circumstances.

132. The illegal seizure of Jane was the proximate cause of Jane’s damages

      arising from the interview.

                              Count IV
          Fourth Amendment Violation under 42 U.S.C. § 1983
              (By John Doe against Detective Leach)

133. This Count incorporates the factual allegations set forth above.

134. Prior to his arrest, John had not committed any offense or violated any

      law that would authorize his arrest.

135. Detective Leach initiated a criminal prosecution against John and no

      reasonable police officer could have believed that probable cause

      existed to support John’s arrest.


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136. Detective Leach displayed a reckless disregard for John’s

      constitutional rights.

137. Detective Leach failed to set forth in his warrant affidavit sufficient

      facts to enable the magistrate to make an independent finding of

      probable cause. The affidavit does not articulate the basis for

      Detective Leach’s belief that John committed the alleged crime or that

      he had personal knowledge of the circumstances of Plaintiff's

      involvement in the crime.

138. Detective Leach initiated and maintained a criminal prosecution

      against John and he knew or should have known that no arguable

      probable cause existed to support John’s arrest.

139. The actions of Detective Leach were the proximate cause of John’s

      arrest and incarceration and damages arising therefrom.

140. Clearly established law shows that arresting an individual or seeking

      an arrest warrant without arguable probable cause violates the Fourth

      Amendment of the United States Constitution.

                                Count V
             Attorney’s Fees under 42 U.S.C. § 1988, the ADA,
                 and Section 504 of the Rehabilitation Act


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141. This Count incorporates the factual allegations set forth above.

142. Upon prevailing in this action, Plaintiffs are entitled to recover

      reasonable attorney’s fees under 42 U.S.C. § 1988(b), 42 U.S.C. §

      12205, and 29 U.S.C. § 794a(b).

                          REQUEST FOR RELIEF

      WHEREFORE, on the basis of the foregoing, Plaintiffs respectfully

pray that this Court:

a)    Assume jurisdiction over this action;

b)    Hold a trial by jury on all issues so triable;

c)    Award general and special compensatory damages to each Plaintiff in

      an amount determined by the enlightened conscience of fair and

      impartial jurors;

d)    Award punitive damages against Detective Leach;

e)    Award reasonable attorney’s fees, expenses, and costs of litigation;

f)    Award such other and further relief as this Court deems just and

      proper.




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           Respectfully submitted this 21st day of March, 2019.

s/Jeffrey R. Filipovits                    s/Jennifer Hickey
Jeffrey R. Filipovits                      Jennifer Hickey
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